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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                    4:09CR3117
                                                )
               v.                               )
                                                )
TRAVES RUSH,                                    )    TENTATIVE FINDINGS ON OBJECTIONS
                                                )        TO REVISED PRESENTENCE
                      Defendant.                )         INVESTIGATION REPORT
                                                )


       The defendant has objected to paragraphs 10 through 16, 31, 32, 35, 52, 54, 55, 56, 57, 58,
59, 62 and 78 through 84.
       These objections put the burden of proof upon the government. Accordingly, an evidentiary
hearing shall be permitted. The expected time is two hours or so.
       The defendant moves for downward departure or variance and that will be resolved at the
time of the evidentiary hearing and sentencing.
       Dated July 20, 2010.

                                       BY THE COURT

                                       s/ Warren K. Urbom
                                       United States Senior District Judge
